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                                                 December 11, 2019


VIA ECF

Honorable Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                Re:      Michael Mader v. Experian et al.,
                         Case No. 1:19-cv-03787-LGS-DCF (S.D.N.Y.)

Dear Judge Schofield:

       Experian Information Solutions, Inc. (“Experian”) requests a pre-motion conference for a
motion in limine to preclude documents and a deposition transcript that Plaintiff produced.

Relevant Procedural History

       The Court ordered that all fact discovery related to Plaintiff’s individual claim be
completed by November 12, 2019. See ECF No. 14. To meet that deadline, on October 9, 2019,
Experian served a subpoena to produce documents on a third party to this action, Navient
Solutions, LLC. On October 31, 2019 and November 1, 2019, Navient made two document
productions, totaling 813 pages in response to Experian’s subpoena. Experian provided these
documents to Plaintiff on the same days that Navient produced them.

       On October 17, 2019, Experian served a subpoena for Navient’s testimony. In light of
the comprehensive nature of Navient’s document production, however, Experian withdrew that
subpoena on November 1, 2019. At that point, Plaintiff had not propounded any discovery on
Navient or any other third party.

        On November 4, 2019, Plaintiff requested an extension of fact discovery. The stated
reason for that extension was as follows: “In order to translate the shorthand expressions used in
the Navient documents, one must have either an opportunity to question a witness with
knowledge of Navient’s policies and systems, or access to Navient’s policies and certain data
relating to Plaintiff Michael Mader that was omitted from Navient’s production.” See ECF
No. 32. Based upon that representation, the Court granted an extension of fact discovery until
November 18, 2019 to permit that discovery to proceed. See ECF No. 34.



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        After obtaining that extension, Plaintiff did not proceed with the discovery he claimed he
needed. Rather than depose Navient, or seek “access to Navient’s policies and certain data
relating to Plaintiff Michael Mader that was omitted from Navient’s production,” Plaintiff
himself produced documents that Navient had produced in a different case—Haas v. Navient
Solutions, LLC, Adv. Pro. No. 16-03175 (Bankr. S.D. Tex.). Filed in 2017 in bankruptcy court
in Texas, the Haas matter involved unrelated bankruptcy issues, a different plaintiff, and a
different type of loan. Experian was not a party to Haas. Indeed, the only relationship between
Haas and the case at bar is that the same plaintiff’s lawyers are involved in both matters.

        Furthermore, in addition to producing documents that Navient had produced in Haas,
Plaintiff also produced a copy of a deposition transcript of Navient’s Rule 30(b)(6) witness in
Haas. In addition to being hearsay, Experian had no ability to participate in that deposition.

        Experian objects to use of the Haas documents and deposition transcript because they
were in Plaintiff’s possession—or, at the very least, his counsel’s possession—long before
Plaintiff made his request to this Court for an extension to the fact discovery cutoff. Having not
produced them in a timely manner, they are inadmissible. Even if the production was made in a
timely manner, a deposition transcript taken in another unrelated matter not even involving
Experian is inadmissible under Federal Rule of Civil Procedure 32.

        Counsel for Experian and Plaintiff’s counsel met and conferred by telephone on
December 6, 2019, pursuant to Individual Rule III.C.3, to discuss Experian’s objections.
The parties have not been able to resolve Experian’s objections. Therefore, Experian
respectfully requests relief from the Court.

Plaintiff’s November Production Is Irrelevant and Untimely, Exceeding the Scope of the
Stated Reason for an Extension of Fact Discovery

        The materials that Plaintiff produced from the Haas matter are not proper because they
exceed the scope of Plaintiff’s request for an extension of fact discovery. Plaintiff sought an
extension ostensibly for the purpose of asking Navient about codes or expressions used in
Plaintiff’s consumer file with Navient, see ECF No. 32, at 2, which Navient had produced to
Experian on October 31, 2019 and November 1, 2019 in response to Experian’s subpoena for
documents. But instead of seeking documents or testimony from Navient pertaining to
Plaintiff’s consumer file and loan for undergraduate studies, Plaintiff’s counsel produced
documents and testimony pertaining to an unrelated consumer’s file for an entirely different loan
type for career training. Furthermore, Plaintiff’s counsel has had these documents in its
possession since 2017, and throughout the entirety of discovery in the present matter. Thus,
there was never any need to request an extension of the fact discovery deadline. If Plaintiff
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wanted to use these records, he could have (and should have) produced them in a timely fashion.
Having failed to do so, the Court should bar their use in this case.

         Accordingly, Experian seeks to preclude these materials on the basis that the documents
are irrelevant to Plaintiff’s consumer file and loan type, as well as the fact they are not the
information that Plaintiff represented he needed as the basis for his extension. And, having
possessed them since the outset of the case, but failed to produce them before the initial
discovery cutoff, the production is untimely.

The Navient Deposition Transcript From Haas Is Inadmissible

          Experian also seeks to preclude the 2017 deposition transcript of Navient’s Rule 30(b)(6)
deponent in the Haas matter. Even if it was admissible—and it is not—Plaintiff did not produce
it in a timely manner. Regardless, a deposition transcript from an unrelated case in which
Experian was not even a party is inadmissible under Rule 32.

         First, a deposition transcript from a prior matter can only be used under Rule 32(a)(1)(A)
if a party to the present matter “was present or represented at the taking of the deposition or had
reasonable notice of it,” which is not the case here because Experian was not a party to the 2017
case and had no knowledge or notice of the deposition.

        Second, Rule 32(a)(8) only permits use of a deposition transcript “taken in an earlier
action” if it is to “be used in a later action involving the same subject matter between the same
parties, or their representatives or successors in interest,” which is not the case here. Experian
was not a party to the 2017 case, nor a successor in interest, and the subject matter is not the
same because each case involves different consumers with different types of loans. Mediavilla v.
City of New York, 259 F. Supp. 3d 82, 110 (S.D.N.Y. 2016) (“[I]t is well established that only
admissible evidence may serve to support or defeat a motion for summary judgment. . . .
However, deposition testimony taken in a different action is only admissible if the present action
involves the same subject matter and the same parties.” (citing to FRCP 32(a)(8)). For this
independent reason, use of the Navient deposition from Haas should be precluded.

       Experian thus requests a pre-motion conference in support of a motion in limine.

                                                 Respectfully submitted,

                                                 /s/ Kerianne Tobitsch

                                                 Kerianne Tobitsch

cc:    All counsel of record (via ECF)
